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      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
      -----------------------------------------------------------------------x
      ATIBA CLARKE                                                                Docket: 1:20-cv-01465-ENV-
                                                                                  RLM
                                                  Plaintiff,
                          -against-
                                                                                  AMENDED COMPLAINT
      BURGER KING CORPORATION AND RACKSON
      RESTAURANTS, LLC                                                            JURY TRIAL REQUESTED

                                                  Defendants.
      ------------------------------------------------------------------------x

                                       AMENDED COMPLAINT

            Pursuant to Rule 15 of the Federal Rules of Civil Procedure, plaintiff Atiba Clarke

    (hereafter referred to as "plaintiff”), by counsel, Parker Hanski LLC, as and for the

    Amended Complaint in this action against defendants Burger King Corporation and

    Rackson Restaurants, LLC (together referred to as "defendants"), hereby alleges as

    follows:

                                      NATURE OF THE CLAIMS

            1.          This lawsuit opposes pervasive, ongoing and inexcusable disability

    discrimination by the defendants. In this action, plaintiff seeks declaratory, injunctive

    and equitable relief, as well as monetary damages and attorney’s fees, costs and expenses

    to redress defendants’ unlawful disability discrimination against plaintiff, in violation of

    Title III of the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§ 12181 et. seq. and

    its implementing regulations, the New York State Executive Law (the "Executive Law''),

    § 296, New York State Civil Rights Law, § 40, and the Administrative Code of the City

    New York (the ''Administrative Code''), § 8-107. As explained more fully below,

    defendants own, lease, lease to, operate and control a place of public accommodation that



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    violates the above-mentioned laws. Defendants are vicariously liable for the acts and

    omissions of their employees and agents for the conduct alleged herein.

           2.      These defendants made a financial decision to ignore the explicit legal

    requirements for making their place of public accommodation accessible to persons with

    disabilities – all in the hopes that they would never be caught. In so doing, defendants

    made a calculated, but unlawful, decision that disabled customers are not worthy. The

    day has come for defendants to accept responsibility. This action seeks to right that

    wrong via recompensing plaintiff and making defendants’ place of public

    accommodation fully accessible so that plaintiff can finally enjoy the full and equal

    opportunity that defendants provide to non-disabled customers.

                                 JURISDICTION AND VENUE

           3.         This Court has jurisdiction over this matter pursuant to 42 U.S.C. §

    12188 and 28 U.S.C. §§ 1331 and 1343 as this action involves federal questions

    regarding the deprivation of plaintiff's rights under the ADA. The Court has

    supplemental jurisdiction over plaintiff's related claims arising under the New York State

    and City laws pursuant to 28 U.S.C. § 1367(a).

           4.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because

    defendants’ acts of discrimination alleged herein occurred in this district and defendants’

    place of public accommodation that is the subject of this action is located in this district.

                                             PARTIES

           5.      At all times relevant to this action, plaintiff Atiba Clarke has been and

    remains currently a resident of the State and City of New York.




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           6.      At all times relevant to this action, plaintiff Atiba Clarke has been and

    remains a wheelchair user. Plaintiff suffers from medical conditions that inhibit walking

    and restrict body motion range and movement.

           7.      At all relevant times, defendants Burger King Corporation and Rackson

    Restaurants, LLC operate and/or lease property located at 159-29 Jamaica Avenue in

    Queens County, New York (hereinafter referred to as “159-29 Jamaica Avenue”).

           8.      Each defendant is licensed to and does business in New York State.

           9.      At all relevant times, defendants Burger King Corporation and Rackson

    Restaurants, LLC operate a Burger King restaurant at 159-29 Jamaica Avenue

    (hereinafter referred to as the “Burger King” premises).

           10.     Upon information and belief, defendants are related companies under

    common control.

                 ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

           11.     Each of the defendants is a public accommodation as they own, lease,

    lease to, control or operate a place of public accommodation, the Burger King premises

    located at 159-29 Jamaica Avenue, within the meaning of the ADA (42 U.S.C. § 12181

    and 28 C.F.R. § 36.104), the Executive Law (§ 292(9)) and the Administrative Code (§ 8-

    102(9)).

           12.     The Burger King premises is a place of public accommodation within the

    meaning of the ADA (42 U.S.C. § 12181 and 28 C.F.R. § 36.104), the Executive Law (§

    292(9)) and the Administrative Code (§ 8-102(9)) as it is a facility operated by a private

    entity and its operations affect commerce.




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           13.     Numerous architectural barriers exist at defendants’ place of public

    accommodation that prevent and/or restrict access to plaintiff, a person with a disability.

           14.     Upon information and belief, 159-29 Jamaica Avenue was designed and

    constructed for first possession after January 26, 1993.

           15.     Upon information and belief, at some time after January 1992, defendants

    made alterations to 159-29 Jamaica Avenue, including areas adjacent and/or attached to

    159-29 Jamaica Avenue.

           16.     Upon information and belief, at some time after January 1992, defendants

    made alterations to the Burger King premises, and to areas of 159-29 Jamaica Avenue

    related to the Burger King premises.

           17.     Within the past three years of filing this action, plaintiff attempted to and

    desired to access the Burger King premises.

           18.     The services, features, elements and spaces of defendants’ place of public

    accommodation are not readily accessible to, or usable by plaintiff as required by the

    Americans with Disabilities Act Accessibility Guidelines, 28 C.F.R. Part 36, Appendix

    A, and adopted by the United States Department of Justice in 1991 as the Standards for

    Accessible Design (“1991 Standards”) or the revised final regulations implementing Title

    III of the ADA adopted by the United States Department of Justice in 2010 as the 2010

    Standards for Accessible Design (“2010 Standards”).

           19.     Because of defendants’ failure to comply with the above-mentioned laws,

    including but not limited to the 1991 Standards or the 2010 Standards and the

    Administrative Code, plaintiff was and has been unable to enjoy safe, equal and complete

    access to defendants’ place of public accommodation.



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              20.   Defendants' place of public accommodation has not been designed,

    constructed, or altered in compliance with the 1991 Standards, the 2010 Standards, the

    Administrative Code, the Building Code of the City of New York (“BCCNY”), or the

    2014 New York City Construction Code (“2014 NYC”).

              21.   Barriers to access that plaintiff encountered and/or which deter plaintiff

    from patronizing the defendants’ place of public accommodation as well as barriers that

    exist include, but are not limited to, the following:

    Public Entrances:

         I.         The public entrances are not accessible. See below.
                    Defendants fail to provide that at least 50% of all its public entrances are
                    accessible. See 1991 Standards 4.1.3.8(a)(i).
                    Defendants fail to provide that at least 60% of all its public entrances are
                    accessible. See 2010 Standards 206.4.1.
                    Defendants fail to provide that ALL its public entrances are accessible.
                    See 2014 NYC 1105.1.

         II.        The Jamaica Avenue entrance doorway lacks level maneuvering
                    clearances at the pull side of the double doorway.
                    Defendants fail to provide an accessible door with level maneuvering
                    clearances. See 1991 Standards 4.13.6, 2010 Standards 404.2.4, and 2014
                    NYC 404.2.3.

         III.       The 160th Street entrance doorway lacks level maneuvering
                    clearances at the pull side of the doorway.
                    Defendants fail to provide an accessible door with level maneuvering
                    clearances. See 1991 Standards 4.13.6, 2010 Standards 404.2.4, and 2014
                    NYC 404.2.3.

         IV.        There is a step at the exterior side of the 160th Street entrance doorway
                    that has a change in level greater than ½ inch high.
                    Defendants fail to provide that changes in level greater than 1/2-inch high
                    are ramped. See 1991 Standards 4.3.8, 2010 Standards 303.4, and 2014
                    NYC 303.3.

         Circulation Routes:




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         V.         An accessible route is not provided between the ground level and the
                    upper level due to steps. The upper level contains additional dining and
                    the toilet rooms.
                    Defendants fail to provide an accessible route to each level and mezzanine
                    required to be accessible. See 1991 Standards 4.1.3(5), 2010 Standards
                    206.2.3, and 2014 NYC 1104.4
                    Defendants fail to provide that changes in level greater than 1/2-inch high
                    are ramped. See 1991 Standards 4.3.8, 2010 Standards 303.4, and 2014
                    NYC 303.3.

         VI.        The steps between the ground level and the upper level lack required
                    handrail extensions.
                    Defendants fail to provide the required handrail extensions at accessible
                    steps and ramps. See 1991 Standards 4.8.5(2), 2010 Standards 505.10.1,
                    and 2014 NYC 505.10.1.

         Seating:

         VII.       There are no accessible tables in the ground level dining area.
                    Defendants fail to provide that at least 5% of the dining surfaces provided
                    to customers are accessible. See 1991 Standard 5.1, 2010 Standards
                    226.1, and 2014 NYC 1109.10.

         VIII.      There are no accessible tables in the upper level dining area.
                    Defendants fail to provide that at least 5% of the dining surfaces provided
                    to customers are accessible. See 1991 Standard 5.1, 2010 Standards
                    226.1, and 2014 NYC 1109.10.

         Single User Toilet Room:

         IX.        The toilet room is not accessible. See below.
                    Defendants fail to provide accessible toilet facilities. See 1991 Standards
                    4.1.3(11), 2010 Standards 213.1, and 2014 NYC 1109.2.

         X.         The privacy latch on the door of the toilet room is outside of an accessible
                    reach range.
                    Defendants fail to provide operable parts within an accessible reach
                    range. See 1991 Standards 4.2.6, 2010 Standards 308.3.1, and 2014 NYC
                    308.3.1.

         XI.        The toilet room lacks an accessible water closet. See below.
                    Defendants fail to provide at least one accessible water closet within
                    accessible toilet and bathing facilities. See 1991 Standards 4.23.4, 2010
                    Standards 213.3.2, and 2014 NYC 1109.2.




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         XII.     The water closet in the toilet room is located more than 18” from the side
                  wall.
                  Defendants fail to provide an accessible standard water closet positioned
                  with the centerline of the water closet 16 inches minimum to 18 inches
                  maximum from the side wall or partition. See 1991 Standards 4.16.2, 2010
                  Standards 604.2, and 2014 NYC 604.2.

         XIII.    The water closet in the toilet room lacks the required clearances.
                  Defendants fail to provide a clearance around the accessible water closet
                  that is 60 inches minimum measured perpendicular from the side wall and
                  56 inches minimum measured perpendicular from the rear wall. See 1991
                  Standards 4.17.3, 2010 Standards 604.3.1, and 2014 NYC 604.3.1.

         XIV.     The water closet in the toilet room lacks compliant grab bars.
                  Defendants fail to provide an accessible water closet with a side wall grab
                  bar that is 42 inches long minimum, located 12 inches maximum from the
                  rear wall and extending 54 inches minimum from the rear wall. See 1991
                  Standards 4.16.4, 2010 Standards 604.5.1, and 2014 NYC 604.5.1.
                  Defendants fail to provide an accessible water closet with a vertical side
                  wall grab bar. See 2014 NYC 604.5.1.
                  Defendants fail to provide an accessible water closet with a rear wall grab
                  bar that is 36 inches long minimum and extend from the centerline of the
                  water closet 12 inches minimum on one side and 24 inches minimum on
                  the other side. See 1991 Standards 4.16.4, 2010 Standards 604.5.2, and
                  2014 NYC 604.5.2.

         XV.      The water closet in the toilet room has the toilet paper dispenser in the
                  incorrect location.
                  Defendants fail to provide an accessible water closet with a toilet paper
                  dispenser that is located 7 inches minimum and 9 inches maximum in front
                  of the water closet measured to the centerline of the dispenser. See 2010
                  Standards 604.7; and 2014 NYC 604.7.

         XVI.     The toilet room lacks an accessible lavatory. See below.
                  Defendants fail to provide at least one accessible lavatory within
                  accessible toilet and bathing facilities. See 1991 Standards 4.23.6, 2010
                  Standards 213.3.4, and 2014 NYC 1109.2.

         XVII.    The lavatory in toilet room lack protected hot water and drainpipes.
                  Defendants fail to provide accessible lavatories and/or sinks with water
                  supply and drainpipes that are insulated or otherwise configured to
                  protect against contact. See 1991 Standards 4.19.4, 2010 Standards 606.5,
                  and 2014 NYC 606.6.

         Public Exits:



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          XVIII. The public exits, which are also the public entrances, are not accessible as
                 described above.
                 Defendants fail to provide accessible means of egress in the number
                 required by the code. See 1991 Standards 4.1.3(9), 2010 Standards 207.1,
                 and 2014 NYC 1007.1.

            22.     Upon information and belief, a full inspection of the defendants’ place of

    public accommodation will reveal the existence of other barriers to access.

            23.     As required by the ADA (remedial civil rights legislation) to properly

    remedy defendants’ discriminatory violations and avoid piecemeal litigation, plaintiff

    requires a full inspection of the defendants’ public accommodation in order to catalogue

    and cure all of the areas of non-compliance with the ADA. Notice is therefore given that

    plaintiff intends on amending the Amended Complaint to include any violations

    discovered during an inspection that are not contained in this Amended Complaint.

            24.     Defendants have denied plaintiff the opportunity to participate in or

    benefit from services or accommodations because of disability.

            25.     Defendants have not satisfied their statutory obligation to ensure that their

    policies, practices, procedures for persons with disabilities are compliant with the laws.

    Nor have defendants made or provided reasonable accommodations or modifications to

    persons with disabilities.

            26.     Plaintiff has a realistic, credible and continuing threat of discrimination

    from the defendants’ non-compliance with the laws prohibiting disability discrimination.

    The barriers to access within defendants' place of public accommodation continue to exist

    and deter plaintiff.

            27.     Plaintiff frequently travels to the area where defendants’ place of public

    accommodation is located.



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           28.     Plaintiff intends to patronize the defendants’ place of public

    accommodation several times a year after it becomes fully accessible.

           29.     Plaintiff is also a “tester” for the purposes of asserting basic civil rights

    and monitoring, ensuring, and determining whether defendants’ place of public

    accommodation is fully accessible.

           30.     Plaintiff intends to patronize the defendants’ place of public

    accommodation several times a year as “tester” to monitor, ensure, and determine

    whether defendants’ place of public accommodation is fully accessible.

                            FIRST CAUSE OF ACTION
           (VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT)

           31.     Plaintiff realleges and incorporates by reference all allegations set forth in

    this Amended Complaint as if fully set forth herein.

           32.     Plaintiff is substantially limited in the life activity of both walking and

    body motion range and thus has a disability within the meaning of the ADA. As a direct

    and proximate result of plaintiff’s disability, plaintiff uses a wheelchair for mobility, and

    also has restricted use of arms and hands.

           33.     The ADA imposes joint and several liability on both the property owner

    and lessee of a public accommodation. 28 C.F.R. 36.201(b).

           34.     Under the ADA, both the property owner and lessee are liable to the

    plaintiff and neither can escape liability by transferring their obligations to the other by

    contract (i.e. lease agreement). 28 C.F.R. 36.201(b).

           35.     Defendants have and continue to subject plaintiff to disparate treatment by

    denying plaintiff full and equal opportunity to use their place of public accommodation




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     all because plaintiff is disabled. Defendants’ policies and practices have disparately

     impacted plaintiff as well.

            36.      By failing to comply with the law in effect for decades, defendants have

     articulated to disabled persons such as the plaintiff that they are not welcome,

     objectionable and not desired as patrons of their public accommodation.

            37.      Defendants have discriminated against the plaintiff by designing and/or

     constructing a building, facility and place of public accommodation that is not readily

     accessible to and usable by the disabled plaintiff and not fully compliant with the 1991

     Standards or the 2010 Standards. See 28 C.F.R. § 36.401(A)(1) and 42 U.S.C.

     §12183(a)(1).

            38.      Defendants’ place of public accommodation is not fully accessible and

     fails to provide an integrated and equal setting for the disabled, all in violation of 42

     U.S.C. §12182(b)(1)(A) and 28 C.F.R. § 36.203.

            39.      Upon making alterations to their public accommodation, defendants failed

     to make their place of public accommodation accessible to plaintiff to the maximum

     extent feasible in violation of 28 C.F.R. §§ 36.402 and 36.406.

            40.      Upon making these alterations to the primary function areas, defendants

     failed to make the paths of travel to the primary function areas accessible to plaintiff, in

     violation of 28 C.F.R. § 36.403.

            41.      28 C.F.R. § 36.406(5) requires defendants to make the facilities and

     elements of their noncomplying public accommodation accessible in accordance with the

     2010 Standards.




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            42.     Defendants failed to make all readily achievable accommodations and

     modifications to remove barriers to access in violation of 28 C.F.R. § 36.304. It would

     be readily achievable to make defendants’ place of public accommodation fully

     accessible.

            43.     By failing to remove the barriers to access where it is readily achievable to

     do so, defendants have discriminated against plaintiff on the basis of disability in

     violation of § 302(a) and 302(b)(2)(A)(iv) of the ADA, 42 U.S.C. § 12182(a),

     (b)(2)(A)(iv), and 28 C.F.R. § 36.304.

            44.     In the alternative, defendants have violated the ADA by failing to provide

     plaintiff with reasonable alternatives to barrier removal as required by 28 C.F.R. §

     36.305.

            45.     Defendants’ failure to remove the barriers to access constitutes a pattern

     and practice of disability discrimination in violation of 42 U.S.C. § 12181 et. seq., and 28

     C.F.R § 36.101 et. seq.

            46.     Defendants have and continue to discriminate against plaintiff in violation

     of the ADA by maintaining and/or creating an inaccessible public accommodation.

                            SECOND CAUSE OF ACTION
               (VIOLATIONS OF THE NEW YORK STATE EXECUTIVE LAW)

            47.     Plaintiff realleges and incorporates by reference all allegations set forth in

     this Amended Complaint as if fully set forth herein.

            48.     Plaintiff suffers from various medical conditions that separately and

     together prevent the exercise of normal bodily functions in plaintiff; in particular, the life

     activities of both walking and body motion range. Plaintiff therefore suffers from a

     disability within the meaning of the Executive Law § 296(21).

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             49.       Defendants have and continue to subject plaintiff to disparate treatment by

     denying plaintiff equal opportunity to use their place of public accommodation all

     because plaintiff is disabled.

             50.       Defendants discriminated against plaintiff in violation of New York State

     Executive Law § 296(2), by maintaining and/or creating an inaccessible place of public

     accommodation. Each of the defendants have aided and abetted others in committing

     disability discrimination.

             51.       Defendants have failed to make all readily achievable accommodations

     and modifications to remove barriers to access in violation of Executive Law §

     296(2)(c)(iii).

             52.       In the alternative, defendants have failed to provide plaintiff with

     reasonable alternatives to barrier removal as required in violation of Executive Law §

     296(2)(c)(iv).

             53.       It would be readily achievable to make defendants’ place of public

     accommodation fully accessible.

             54.       It would not impose an undue hardship or undue burden on defendants to

     make their place of public accommodation fully accessible.

             55.       As a direct and proximate result of defendants' unlawful discrimination in

     violation of New York State Executive Law, plaintiff has suffered, and continues to

     suffer emotional distress, including but not limited to humiliation, embarrassment, stress,

     and anxiety.

             56.       Plaintiff has suffered and will continue to suffer damages in an amount to

     be determined at trial.



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                          THIRD CAUSE OF ACTION
          (VIOLATIONS OF THE ADMINISTRATIVE CODE OF THE CITY OF
                                NEW YORK)

            57.     Plaintiff realleges and incorporates by reference all allegations set forth in

     this Amended Complaint as if fully set forth herein.

            58.     Plaintiff suffers from various medical conditions that separately and

     together, impair plaintiff’s bodily systems - in particular, the life activity of both walking

     and body motion range -and thus plaintiff has a disability within the meaning of the

     Administrative Code § 8-102(16).

            59.     The Local Civil Rights Restoration Act of 2005 (the “Restoration Act”),

     also known as Local Law 85, clarified the scope of the Administrative Code in relation to

     the New York City’s Human Rights Law. The Restoration Act confirmed the legislative

     intent to abolish “parallelism” between the Administrative Code and the Federal and New

     York State anti-discrimination laws by stating as follows:

            The provisions of this title shall be construed liberally for the accomplishment of
            the uniquely broad and remedial purposes thereof, regardless of whether federal
            or New York State civil and human rights laws, including those laws with
            provisions comparably-worded to provisions of this title, have been so construed.

     Restoration Act § 7 amending Administrative Code §8-130 (emphasis added). The

     Restoration Act is to be construed broadly in favor of plaintiff to the fullest extent

     possible.

            60.     Defendants have and continue to subject plaintiff to disparate treatment

     and disparate impact by directly and indirectly refusing, withholding, and denying the

     accommodations, advantages, facilities, and privileges of their place of public

     accommodation all because of disability in violation of the Administrative Code § 8-




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     107(4). Each of the defendants have aided and abetted others in committing disability

     discrimination.

            61.     Defendants have discriminated, and continue to discriminate, against

     plaintiff in violation of the Administrative Code § 8-107(4) by designing, creating and/or

     maintaining an inaccessible commercial facility/space.

            62.     Defendants have subjected, and continue to subject, plaintiff to disparate

     treatment by directly and indirectly refusing, withholding, and denying the

     accommodations, advantages, facilities, and privileges of their commercial facility/space

     all because of disability in violation of the Administrative Code § 8-107(4).

            63.     In violation of Administrative Code § 8-107(6), defendants have and

     continue to, aid and abet, incite, compel or coerce each other in each of the other

     defendants’ attempts to, and in their acts of directly and indirectly refusing, withholding,

     and denying the accommodations, advantages, facilities, and privileges of their

     commercial facility/space and the place of public accommodation therein, all because of

     disability, as well as other acts in violation of the Administrative Code.

            64.     Defendants discriminated against plaintiff in violation of the

     Administrative Code, § 8-107(4), and Local Law 58 by maintaining and/or creating an

     inaccessible public accommodation.

            65.     As a direct and proximate result of defendants' unlawful discrimination in

     violation of the Administrative Code, plaintiff has suffered, and continues to suffer

     emotional distress, including but not limited to humiliation, stress, and embarrassment.

            66.     Upon information and belief, defendants’ long-standing refusal to make

     their place of public accommodation fully accessible was deliberate, calculated,



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     egregious, and undertaken with reckless disregard to plaintiff’s rights under the

     Administrative Code.

            67.     By failing to comply with the law in effect for decades, defendants have

     articulated to disabled persons such as the plaintiff that they are not welcome,

     objectionable and not desired as patrons of their public accommodation.

            68.     Defendants engaged in discrimination with willful or wanton negligence,

     and/or recklessness, and/or a conscious disregard of the rights of others and/or conduct so

     reckless as to amount to such disregard for which plaintiff is entitled to an award of

     punitive damages pursuant to Administrative Code § 8-502.

            69.     By refusing to make their place of public accommodation accessible,

     defendants have unlawfully profited from their discriminatory conduct by collecting

     revenue from a non-compliant space and pocketing the money that they should have

     lawfully expended to pay for a fully compliant and accessible space. Defendants’

     unlawful profits plus interest must be disgorged.

            70.     Plaintiff has suffered and will continue to suffer damages in an amount to

     be determined at trial.

                          FOURTH CAUSE OF ACTION
            (VIOLATIONS OF THE NEW YORK STATE CIVIL RIGHTS LAW)

            71.     Plaintiff realleges and incorporates by reference all allegations set in this

     Amended Complaint as if fully set forth herein.

            72.     Defendants discriminated against plaintiff pursuant to New York State

     Executive Law.

            73.     Consequently, plaintiff is entitled to recover the monetary penalty

     prescribed by Civil Rights Law §§ 40-c and 40-d for each and every violation.

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            74.     Notice of this action has been served upon the Attorney General as

     required by Civil Rights Law § 40-d.

                                          INJUNCTIVE RELIEF

            75.     Plaintiff will continue to experience unlawful discrimination as a result of

     defendants' failure to comply with the above-mentioned laws. Therefore, injunctive relief

     is necessary to order defendants to alter and modify their place of public accommodation

     and their operations, policies, practices and procedures.

            76.     Injunctive relief is also necessary to make defendants' facilities readily

     accessible to and usable by plaintiff in accordance with the above-mentioned laws.

            77.     Injunctive relief is further necessary to order defendants to provide

     auxiliary aids or services, modification of their policies, and/or provision of alternative

     methods, in accordance with the ADA, Executive Law and the Administrative Code.

                                    DECLARATORY RELIEF

            78.     Plaintiff is entitled to a declaratory judgment concerning each of the

     accessibility violations committed by defendants against plaintiff and as to required

     alterations and modifications to defendants’ place of public accommodation, facilities,

     goods and services, and to defendants’ policies, practices, and procedures.

                        ATTORNEY’S FEES, EXPENSES AND COSTS

            79.     In order to enforce plaintiff’s rights against the defendants, plaintiff has

     retained counsel and is entitled to recover attorney’s fees, expenses and costs pursuant to

     the ADA and the Administrative Code. 42 U.S.C. §12205; 28 C.F.R. §36.505; and

     Administrative Code § 8-502.

                                          JURY DEMAND



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                         Plaintiff demands a trial by jury on all claims so triable.

                                        PRAYER FOR RELIEF

            WHEREFORE, plaintiff respectfully requests that the Court enter a judgment

     against the defendants, jointly and severally, in favor of plaintiff that contains the

     following relief:

                 A. Enter declaratory judgment declaring that defendants have violated the

     ADA and its implementing regulations, Executive Law and Administrative Code and

     declaring the rights of plaintiff as to defendants' place of public accommodation, and

     defendants’ policies, practices and procedures;

                 B. Issue a permanent injunction ordering defendants to close and cease all

     business until defendants remove all violations of the ADA, the 1991 Standards or the

     2010 Standards, Executive Law and Administrative Code, including but not limited to the

     violations set forth above;

                 C. Retain jurisdiction over the defendants until the Court is satisfied that the

     defendants' unlawful practices, acts and omissions no longer exist and will not reoccur;

                 D. Award plaintiff compensatory damages as a result of defendants'

     violations of New York State Executive Law and the Administrative Code of the City of

     New York;

                 E. Award plaintiff punitive damages in order to punish and deter the

     defendants for their violations of the Administrative Code of the City of New York;

                 F. Award plaintiff the monetary penalties for each and every violation of the

     law, per defendant, pursuant to New York State Civil Rights Law §§ 40-c and 40-d;




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                 G. Award reasonable attorney’s fees, costs and expenses pursuant to the

     Administrative Code;

                 H. Find that plaintiff is a prevailing party in this litigation and award

     reasonable attorney’s fees, costs and expenses pursuant to the ADA; and

                 I. For such other and further relief, at law or in equity, to which plaintiff may

     be justly entitled.

     Dated: April 6, 2020
            New York, New York
                                                    Respectfully submitted,

                                                    PARKER HANSKI LLC


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